          Case 3:07-cv-00726-SI Document 503 Filed 11/12/10 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT of CALIFORNIA

                                        CIVIL MINUTES

                                                               Time in Court: 36 mins.
Judge: Susan Illston

Date: November 12, 2010

Case No: C07-726SI

Case Title: Eric Drew v. Equifax

Appearances:

       For Plaintiff(s): John Keating

       For Defendant(s): Stewart Haskins, J. Anthony Love

Deputy Clerk: Susan Imbriani                    Court Reporter: Joan Columbini


                                         PROCEEDINGS

1. Defendant's Motion for Judgment as a Matter of Law

MOTION/MATTER: ( X) Taken under submission

Order to be prepared by:      ( ) Plaintiff    ( ) Defendant    ( X) Court


                                              SUMMARY



       Arguments heard. Matter taken under submission.

       Parties inform the Court that Plaintiff's Motion for Attorney's Fees has been settled.
